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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,                     :
                                               :          Criminal No. 08-327 (SRC)
                                    Plaintiff, :
                                               :                     ORDER
                      v.                       :
                                               :
 MARTIN TACCETTA,                              :
                                               :
                                   Defendant. :
                                               :
                                               :

       This matter having come before the Court on Defendant Martin Taccetta’s motion for the

return of seized property (Docket Entry No. 387); and

       IT APPEARING that the United States of America has stated that the property at issue is

not in its possession, but rather in the possession of the Union County Prosecutor; therefore

       IT IS on this 11th day of August, 2010,

       ORDERED that Defendant Martin Taccetta’s motion for return of seized property

(Docket Entry No. 387) is DENIED as moot.



                                                                     s/ Stanley R. Chesler
                                                                    Stanley R. Chesler, U.S.D.J.
